Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 1 of 6

/FP x4

Dates
JOHN SAIN, Pro Se on
TDCI ID# 01373168 | RECEIVED IN CHAMBERS
O.L. Luther Unit (P2) SEP 30 2019
1800 Luther Dr. , _
Navasota, TX 77868-4714 LEE H. ROSENTHAL

GHIEF U.S, DISTRICT JUDGE

September 2,3 , 2019
Clerk of Courts Clerk of Courts
515 Rusk Street or P.O. Box 61010
Houston, Tx 77002 . Houston, Tx 77208

Re: Civil Action No. 4:18-cv-04412

 

Style: Plaintiffs’ Motion and Notice

Dear Clerk,
Please find included and file the below:

PLAINTIFFS’ MOTION REQUESTING LEAVE OF COURT TO APPEAL IN FORMA
PAUPERIS

Please bring these filings to the attention of the Court for a hearing and rulings.
Thank you for your assistance filing and initiating this Motion.

For questions and immediate assistance filing, please phone Tim Sain @ 817-307-9087 or @
T.Sain@yahoo.com

I can be contacted at the address listed above.

Respectfully,

Lh, das

OHN SAIN, Pro Se -

Page 1
Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 2 of 6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JOHN SAIN, et al., §
§ CIVIL ACTION NO.
Plaintiffs, § 4:18-cv-04412
v. §
§
BRYAN COLLIER, et al., §
§
Defendants. §

PLAINTIFFS’ MOTION REQUESTING LEAVE OF COURT TO APPEAL IN FORMA
PAUPERIS

TO THE HONORABLE JUDGE OF SAID COURT...

Now comes the above-named Plaintiffs’ in the above styled and numbered civil action,
each in their individual capacity and as a Class, pursuant to 28 U.S.C. § 1915 Requesting Leave

of The Court to Proceed In Forma Pauperis.

This is a suit brought by Texas State Inmates against the Director of The Texas
Department of Criminal Justice (TDCJ) and all named Defendants under 28 U.S.C. § 1983. The
Plaintiffs have filed a complaint redressing TDCJ’s cruel and unusual punishment of inmates,
specifically TDCJ’s gross indifference to the extreme heat conditions which exist in the inmate

housing, work, program, and service areas.

Plaintiffs, upon filing this suit November 20, 2018, organized the funds to pay the filing
fee in full. This one-time event was accomplished through the gift of a Plaintiffs relative. The

Plaintiffs wholly exhausted their financial resources when they paid the filing and therefore the

Page 1
Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 3 of 6

named Plaintiffs have not and do not possess the means to contribute and fund the expenses
necessary to retain Legal Counsel in this very complicated and complex suit nor to gather and
retain expert witnesses whom will verify the Constitutional violations the Defendants force upon

the inmates at the Luther Unit.

Because of the named Plaintiffs financial status as shown in the attached In Forma
Pauperis data sheets, Plaintiffs respectfully request the Court to allow them to proceed In Forma

Pauperis in the litigation from this point forward.

Plaintiffs present for the Court’s consideration their individual In Forma Pauperis data

sheet and six-month TDCJ Trust Fund Financial Statements.

Attachment A — John Sain
Attachment B — David Cummings
Attachment C — Phillip Gullett
Attachment D — David Wilson
RELIEF REQUESTED

Based upon their incarceration and inability to pay cost the Plaintiffs request the Court to _

allow them to Proceed In Forma Pauperis.
PRAYER

Premises considered, Plaintiffs pray that this Honorable Court having found good cause
will grant Plaintiffs’ Motion and any additional relief the Court my deem appropriate in order

that they may be able to effectively redress their Constitutional claims.
Direct the Clerk to provide a copy of the Court’s Order to all parties.
Respectfully Submitted,

Dated: September QQ , 2019

Page 2
Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 4 of 6

CERTIFICATE OF CONFERENCE

Whereby their signatures below, Plaintiffs do hereby certify/declare that a conference is
not possible because Plaintiffs are incarcerated in Texas Department of Criminal Justice,
Institutional Division, and are proceeding Pro Se in this cause. . Plaintiffs will not speculate on
whether the Defendants oppose this motion.

CERTIFICATE OF SERVICE

Whereby their signatures below, Plaintiffs do hereby certify/declare that true and correct
copies of the foregoing document was forwarded via U.S. First Class Mail, postage pre-paid, to
the following parties:

a. Bryan Collier
TDCJ Executive Director
Texas Department of Criminal Justice

b. James McKee
Warden
O.L Luther Unit (P2)

c. Texas Department of Criminal Justice
c/o Bryan Collier
TDCJ Executive Director

Service was perfected to the above Defendants through their Attorneys of Record for Service:

Todd Disher

Attorney In Charge

Office of Attorney General of Texas
209 W 14", 8% Floor

Austin, TX 78701

Leah Jean O'Leary

Office of the Attorney General

Law Enforcement Defense Division
P.O. Box 12548 Capital Station
Austin, TX 78711-2548

Page 3
Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 5 of 6

CERTIFICATE OF MAILING

Whereby their signatures below, Plaintiffs do hereby certify/declare that the foregoing
document was delivered to the United States Post Office for processing (U.S. First Class postage,
pre-paid).

Pursuant to Fed. R. App. P. Rule 25 (a)(2)(A)(iii), “Mailbox Rule,” Pro se documents filed
at the time they are placed in the institutional mailing system for processing.

INMATE DECLARATION

We, the Plaintiffs listed below, being over 18 years of age, of sound mind, capable of
making this declaration due to the facts that we: suffer from and/or experience(d) one or more of
the conditions described; attended consultations with qualified medical and other professionals;
having been trained by medical personnel to recognize and treat complications due to
illness/heat/cold; having studied materials listed under Fed. R. Civ. P. Rule 902; through our
personal observations; and due to belief and empirical knowledge that the facts stated above;
pursuant to 28 U.S.C. § 1746, do hereby declare under penalty of perjury that the foregoing is true
and correct from personal knowledge.

Executed on September 3, 2019

Page 4
Case 4:18-cv-04412 Document 125 Filed on 09/30/19 in TXSD Page 6 of 6

JOHN SAIN, Pro Se hd

TDCJ ID# 01373168

O.L. Luther Unit (P2)
1800 Luther Dr.

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DAVID CUMMINGS, Pro Se
TDC] ID# 02153663

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PHILLIP GULLETT, Pro Se Joti Pablo

TDCI ID# 01672020

OLL. Luther Unit (P2)

1800 Luther Dr.

Navasota, TX 77868-4714

DAVID WILSON, Pro Se Sy) end
TDCI ID# 01648044 :
O.L. Luther Unit (P2)

1800 Luther Dr.
Navasota, TX 77868-4714
